  8:15-cr-00134-JFB-TDT           Doc # 45   Filed: 05/15/15   Page 1 of 1 - Page ID # 45




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                      )
                                               )                 8:15CR134
                     Plaintiff,                )
                                               )
       vs.                                     )                  ORDER
                                               )
JULIAN ANACLETO MANJARREZ-                     )
SANCHEZ,                                       )
                                               )
                     Defendant.                )
       This matter is before the court on the motion for an extension of time by defendant
Julian Anacleto Manjarrez-Sanchez (Manjarrez-Sanchez) (Filing No. 44).            Manjarrez-
Sanchez seeks until May 22, 2015, in which to file pretrial motions in accordance with the
progression order. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Manjarrez-Sanchez's motion for an extension of time (Filing No. 44) is
granted. Manjarrez-Sanchez is given until on or before May 22, 2015, in which to file
pretrial motions pursuant to the progression order. The ends of justice have been served
by granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between May 15, 2015, and May 22, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel requires additional time to adequately prepare the case, taking into consideration
due diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       DATED this 15th day of May, 2015.
                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
